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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7    CRISTA RAMOS, et al.,                              Case No. 18-cv-01554-EMC (SK)
                                   8                   Plaintiffs,
                                                                                           ORDER GRANTING STIPULATION
                                   9            v.                                         REGARDING DEPOSITION OF JAMES
                                                                                           D. NEALON
                                  10    KIRSTJEN NIELSEN, et al.,
                                  11                   Defendants.                         Regarding Docket No. 86
                                  12
Northern District of California
 United States District Court




                                  13          The parties stipulated to re-open the deposition of James D. Nealon on August 22, 2018,

                                  14   two days after the deadline provided by the Court at Docket 67. The Court has reviewed the

                                  15   limitations placed on Mr. Nealon’s deposition testimony and ORDERS that the terms of the
                                       stipulation are approved. Specifically, the deposition shall take place on August 22, 2018;
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                                       Plaintiffs shall be limited to three hours in which to conduct the deposition; and the deposition
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                                       shall be limited to (a) the subjects about which Mr. Nealon did not testify previously due to
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                                       Defendants’ objections on deliberative process grounds, (b) the logical outgrowths of his new
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                                       testimony on those subjects, and (c) any discovery withheld pursuant to the deliberate process
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                                       privilege and ordered disclosed by the Court pursuant to its Order of August 15, 2018 (Docket 79)
                                  21   or any other discovery produced subsequent to Mr. Nealon’s prior depositions.
                                  22          IT IS SO ORDERED.
                                  23   Dated: August 21, 2018
                                  24                                                    ______________________________________
                                  25                                                    SALLIE KIM
                                                                                        United States Magistrate Judge
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